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 Appendix A: Sample Complaint and Civil Cover Sheet

                  IN THE UNITED STATES DISTRICT COURT 

                       FOR THE DISTRICT OF MAINE 


                           PRO SE CIVIL COMPLAINT 


                                       C ase N o. \ . ""J...
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                                                       ....r Lv 1""J""l
                                          (the court will assign a number)


 I.    CASE CAPTION: Parties to this Civil Action:

 Pursuant to Fed. R. Civ. P. lO(a), the names of all parties must appear in the case 

 caption. 

 The court will not consider a claim against any defendant who is not listed in the 

 caption. 



 1.    Plaintiff(s) Name(s):     Address(es):            Telephone No. (only if
                                                         you are NOT a prisoner)
       Alice
           , Bainton                                         (207)   540   J 245

       104 Dudley st.,

       Presque Isle, Maine 04769




 2.    Defendant(s) Name(s):                                     Address(es) Ifknown:
       Veterans Administration Medical center

       950 Campbell Ave.,

       West Haven, Connectifut 06516




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(Attach extra sheets if necessary.)

II. STATEMENT OF CLAIM(S)

State briefly the facts of your claim. Describe how each defendant is involved. You
do not need to give legal arguments or cite cases or statutes. Use as much space as
you need to state the facts. (Attach extra sheets if necessary.)


L      When did the events occur? 


           4/13/2010 through 4/20/2010 





2. 	   What happened?
       My husband, Herbert Woodruff Bainton, had recovered from
       a urinary tract infection, on T4E and Dr. Seth, Senior
       Physician on that Unit, advised that he should be dis­
       charged on either 4/5/2010 or 4/6/2010.               My husband and
       I   bot~   agreed   wit~   t~is   plan.   T~en,   a Staff Member, from
       T3W, Bldg. II, visited his bedside and argued that Herb
       would benefit from Rehabilitation Work on her Unit, T3W,
       before beiflEj di seftarEjed baek to efte PierSifiEj HOffle .....fiere fie

       had been a resident.           A former co-worker in the Rehab Unit
       agreed that this would be a good idea as tong as Herb was
       a patient on the Rehab Wing of T3W, rather than the Pal­
       liative Care Wing of T3W.            A conference was held, at which
       time I stressed the fact that Herb wanted to return to the
       V.A. Contract Nursing Home, after some Rehabilitation Work,
       An Aide on 4E, Bldg. I, warned, "Do not let him go to that
       Unit, they will kill him, there."             A young Dr. Fitter, who
       was a Yale New Haven Hosp~al Resident-Intern seemed to
       have replaced Dr. Set, whom I could not reach. Herb was
       transferred to the Rehab Unit. On the Rehabilitation Wing
       of T3W, Herb was making progress. He was eating most of
       the deliciously prepared pureed food; looked forward to
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 II. STATEMENT OF CLAIM(S) (continued)
   transferring to a lounge chair and going into the communal

  area, where he could be with other patients.          With some dif­
   ficulty, he was, still, able to communicate verbally.                On
  4/20/2010, he was preparing to celebrate his birthaay with
  the sharing of an icecream birthday cake, which I had brought
  to the hospital.     I had been living at the hospital, night
  and day.    April 20th: was the first, beautiful Spring Bay.                I
  stepped outside.     To my horror and dismay, upon returning to
  the hospital, I discovered that he had been transferred to
  'the Palliati v e Care tHug. I was Lold that he had becollle
  very ill, was vomiting with the lunchtime meal, had a fever
  and blood was found in his urine.  I demanded that he be 

  transferred back to 4~, ~ldg. I, gr, tbe ER, fgr intensive 

  antibiotic treatment, or that an I.V. tree for delivery of 

  continuous anti-biotic treatment be established, immediately
  at his bedside.     (The Night SUperVl.SOr haa estaoll.shea the
  fact that Herb had a second urinary tract infection.)
  Instead, the staff l.nsl.stea that he be gl.ven a subcutaneous,
  antibiotic injection, once each day.         (Obvious to everyone
  was the fact that it was ineffectiveJ         Herb had an extremely
  strong constitution and his body was fighting hard to tlt:tow
  off the second urinary tract infection.         On 4/23/2010, at
  the breakfast meal, an Aide was helping him to consume a bowl
  of oatmeal, whl.ch he seemed to enjoy eating and was without
  swallowing problems.      I stepped out of the room, hri efl y,            in

  order to have a cup of coffee, in the cafeteria.             To mye
  horror and dismay, I was told that he had begun vomiting,
  again, and that, now, he was completely         unable to swallow,
  upon return to the Unit.      A second conference had been held,
  at which time, I forcefully, insisted that Herb wanted to
  live and that if necessary, a stomach tube should be inserted
  The three people at the conference did not acknowledge
  what I was saying and by way of response, the Head of the
  Unit, in a well-rehearsed manner, repeated over and over,
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(cont. )
"Death will be painless." An R.N. on the Unit announced, in a
well-rehearsed manner, "We will, now, begin giving him shots of
morphine, which will sh~~ down his organs, one by one." My pro­
tests went unheeded. Still, Herb was aware of everything that
was going on and when I was in a phone conversation talking with
our daughter, Cindy, and saying that Daddy wanted to live, Herb
nodded in assent. I had been told that I could no longer stay at
the hospital at night. On 4/27/2010, an i.v. tree for the de­
livery of antibiotics had been established at his bedside. He
seemed to be more comfortable. However~ .about 21~0 A.M., on
4/29/2010, daughter, Gwen called me at home to say that Daddy had
died. I was instructed to return to the hospital in order to
view the body in the morgue. I waited in the hallway of T3W,
for the arrival of the Aide who would take me to the morgue.
After waiting for quite some time, I was told that Herb was,
still, in his room, on the Unit. I rushed down to Rm 119.
I found Herb's head to be ic¥ cold but the rest of his body
was as warm as that of a living person. There was movement
in his chest. In October of 2012, I was told by an apparent
witness that Herb had been electrocuted.
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III. STATEMENT OF JURISDICTION 


Check any of the following that apply to this case (you may check more than one): 


      "~I United
          	      States or a federal official or agency is a party

         Claim arises under the Constitution, laws or treaties of the United States

         Violation of civil rights

         Employment discrimination

         Diversity of Citizenship (a matter between citizens of different states      III
         which the amount in controversy exceeds $75,000)

         Other basis for jurisdiction in federal court (explain below)




IV.      STATEMENT OF VENUE

State briefly the connection between this case and Maine. For example, does a
party reside or do business in Maine? Is a party incorporated in Maine? Did an
injury occur in Maine? Did the claim arise in Maine?

  I, 	Alice Bainton, the widow of Herbert Bainton, am now living
      in Maine.




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 V. 	   RELIEF

 State briefly what you want the court to do for you.
  I believe that medical practices carried out on T3W, Bldg. I I
  VAMC, west Haven, CT. are illegal, cruel and inhuman. These
  practjces should be, immedjately, terminated and some type of
  discip~inary action should be taken so that these practices

  wlI1 	not be relnstated, in another Iocatl0n. The Veterans
  Administration should reassess its methods of accreditation
  and investigation. For our loss and suffering, we should be
  compensated, ($8,000,000.)
 VI. 	 EXHAUSTION OF ADMINISTRATIVE PROCEDURES

 Some claims, but not all, require exhaustion of administrative procedures. Answer
 the questions below to the best of your ability.

 1. 	   Have the claims which you make in this civil action been presented through
        any type of administrative procedure within any state or federal government
        agency?

              Yes 	 X             No

 2. 	   If you answered yes, state the date your claims were so presented, how they
        were presented, and the result of that procedure:

        Standard Form 95 (Rev. 2/2007) was sent to Edward J.
        Carney, in Bedford, Massachusetts, who is the General
        Counsel for the V.A. in New England, on 4/25/2012.
        As a 	 result, I have reGeived two letters            fro~   Cynthia
        L. Tyler, Legal Counsel for VAMC, west Haven, CT.
 3. 	   If you answered no, give the reasons, if applicable, why the claims made in
        this action have not been presented through administrative procedures:




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 VII. ARE YOU REQUESTING TRIAL BY A JURY OR BY A JUDGE?
 (check one):

             JURY


 VIII. VERIFICATION


       I (we) declare under penalty of perjury that the foregoing is true and
 correct.


 Date(s) Executed:              Signature(s) of Plaintiff(s):




 Note:

 IF YOU CANNOT AFFORD TO PAY THE COURT'S FILING FEE UPON THE
 FILING OF YOUR COMPLAINT, THERE IS A SEPARATE FORM TO BE USED
 FOR APPLYING TO PROCEED IN FORMA PAUPERIS. Also, if there is more
 than one plaintiff in the case who wishes to proceed in forma pauperis, each such
 plaintiff must submit a separate application to proceed in forma pauperis.




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